Case 2:09-cr-00370-SDW   Document 136   Filed 12/09/11   Page 1 of 6 PageID: 5029
Case 2:09-cr-00370-SDW   Document 136   Filed 12/09/11   Page 2 of 6 PageID: 5030
Case 2:09-cr-00370-SDW   Document 136   Filed 12/09/11   Page 3 of 6 PageID: 5031
Case 2:09-cr-00370-SDW   Document 136   Filed 12/09/11   Page 4 of 6 PageID: 5032
Case 2:09-cr-00370-SDW   Document 136   Filed 12/09/11   Page 5 of 6 PageID: 5033
Case 2:09-cr-00370-SDW   Document 136   Filed 12/09/11   Page 6 of 6 PageID: 5034
